Case 2:17-cr-20274-BAF-DRG ECF No. 365 filed 11/06/18   PageID.3069   Page 1 of 2




                    UNITED STATES OF AMERICA
                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN

 ____________________________________

 UNITED STATES OF AMERICA,                 Case No. 17-cr-20274

            Plaintiff,                     Honorable Bernard A. Friedman

 v.                                        STIPULATION AND
                                           ORDER TO AMEND BOND
 FAKHRUDDIN ATTAR, D-2,

 and

 FARIDA ATTAR, D-3,

            Defendants.

 ____________________________________

                               STIPULATION

       Fakhruddin Attar, M.D., through his attorney Mary Chartier,

 Farida Attar, through her attorney Matthew Newburg, and the United

 States government, through its attorney Sara Woodward, stipulate that

 Dr. Attar and Mrs. Attar’s bond conditions be modified to allow them to

 vote after the motion hearing on November 6, 2018. Further, Dr. Attar

 may speak with the physician’s office of Dr. Michael Mandell regarding

 an upcoming medical procedure for a family member.
                                      1 

  
Case 2:17-cr-20274-BAF-DRG ECF No. 365 filed 11/06/18                       PageID.3070        Page 2 of 2




                                                          Respectfully submitted,

 11/5/2018                                                /s/MARY CHARTIER
 Date                                                     Mary Chartier

 11/5/2018                                                /s/MATTHEW NEWBURG
 Date                                                     Matthew Newburg

 11/5/2018                                                /s/SARA WOODWARD
 Date                                                     Sara Woodward




                                                ORDER

         Fakhruddin Attar and Farida Attar’s bond conditions are amended

 to allow them to vote after the motion hearing on November 6, 2018.

 Further, Dr. Attar may speak with the physician’s office of Dr. Michael

 Mandell regarding an upcoming medical procedure for a family member.


                                                     s/Bernard A. Friedman
 Dated: November 6, 2018                             BERNARD A. FRIEDMAN
 Detroit, Michigan                                   SENIOR U.S. DISTRICT JUDGE


                                     CERTIFICATE OF SERVICE

 The undersigned certifies that a copy of the foregoing order was served upon each attorney or party of
 record herein by electronic means or first-class U.S. mail on November 6, 2018.

                                                     s/Johnetta M. Curry-Williams
                                                     Case Manager 




                                                     2 

  
